Case 2:18-cv-14511-KAM Document 1 Entered on FLSD Docket 12/17/2018 Page 1 of 8



                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                              WEST PALM BEACH DIVISION


                                                  Case No. 2:18-cv-14511

 ALEXANDER LUNA,                                  COMPLAINT AND DEMAND FOR JURY
                                                  TRIAL FOR VIOLATIONS OF:
                 Plaintiff,
                                                  1.     Telephone Consumer Protection
        v.                                        Act, 47 U.S.C. § 227 et seq.;
                                                  2.     FLA. STAT. § 559.72 et seq.;
                                                  3.     Intrusion Upon Seclusion; and
 BLUESTEM BRANDS, INC., d/b/a                     4.     FLA. STAT. § 768.72 et seq
 FINGERHUT

             Defendant.

                       COMPLAINT AND DEMAND FOR JURY TRIAL

 COMES NOW, Plaintiff, Alexander Luna (“Plaintiff”), by and through his attorneys, and hereby

 alleges the following against Defendant, Bluestem Brands, Inc., d/b/a Fingerhut (“Defendant” or

 “Fingerhut”):

                                       INTRODUCTION

 1.     Count I of Plaintiff’s Complaint is based upon the Telephone Consumer Protection Act

 (“TCPA”), 47 U.S.C. § 227. The TCPA is a federal statute that broadly regulates the use of

 automated telephone equipment. Among other things, the TCPA prohibits certain unsolicited

 marketing calls, restricts the use of automatic dialers or prerecorded messages, and delegates

 rulemaking authority to the Federal Communications Commission (“FCC”).

 2.     Count II of Plaintiff’s Complaint is based upon Florida Consumer Collection Practices Act

 (“FCCPA”), FLA. STAT. § 559.72, which prohibits persons from engaging in abusive, deceptive

 and unfair practices in connection with the collection of consumer debts.

 3.     Count III of Plaintiff’s Complaint is based upon the Invasion of Privacy - Intrusion upon

 Seclusion, as derived from § 652B of the Restatement (Second) of Torts. § 652B prohibits an

 intentional intrusion, “physically or otherwise, upon the solitude or seclusion of another or her

 private affairs or concerns… that would be highly offensive to a reasonable person.”



                                                              COMPLAINT AND DEMAND FOR JURY TRIAL
                                               -1-
Case 2:18-cv-14511-KAM Document 1 Entered on FLSD Docket 12/17/2018 Page 2 of 8



 4.     Count IV Plaintiff’s Complaint is based upon Punitive Damages, Fla. Statute § 768.72,

 which allows a Plaintiff to recover punitive damages where “the trier of fact, based on clear and

 convincing evidence, finds that the defendant was personally guilty of intentional misconduct or

 gross negligence.”

                                  JURISDICTION AND VENUE

 5.     Jurisdiction of this court arises under 47 U.S.C. § 227 et seq. and 28 U.S.C. § 1331.

 6.     Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) in that a substantial part of the events

 or omissions giving rise to the claim occurred in this District. Because Defendant transacts

 business here, personal jurisdiction is established.

                                              PARTIES

 7.     Plaintiff is a natural person residing in the State of Florida.

 8.     Plaintiff is a “consumer” as that term is defined by Fla. Stat. § 559.55(8).

 9.     The debt in question is a "consumer debt" as defined by § 559.55(6).

 10.    At all relevant times herein, Defendant Fingerhut, was a company engaged, by use of mails

 and telephone, in the business of collection a debt from Plaintiff which qualifies as a “consumer

 debt” as defined by FCCPA § 559.55(6).

 11.    Defendant was and is a “person” as said term is defined under Florida Statute § 1.01(3) and

 is subject to the provisions of Fla. Stat. § 559.72 because said section applies to “any person” who

 collects or attempts to collect a consumer debt as defined in Fla. Stat. § 559.55(1).

 12.    Defendant is a financial institution with its principal place of business located in Eden

 Praire, Minnesota. Defendant’s registered agent, CT Corporation System, can be served with

 process at 818 West Seventh Street, Suite 930, Los Angeles, CA 90017.

 13.    Defendant acted through its agents, employees, officers, members, directors, heirs,

 successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                                   FACTUAL ALLEGATIONS

 14.    In or around March 2018, in an attempt to collect on an alleged consumer account,

 Defendant began calling Plaintiff on his cellular phone number ending in 9539.



                                                                 COMPLAINT AND DEMAND FOR JURY TRIAL
                                                 -2-
Case 2:18-cv-14511-KAM Document 1 Entered on FLSD Docket 12/17/2018 Page 3 of 8



 15.     Defendant called Plaintiff from (855) 892-3382, (844) 343-6207, and (844) 669-7904.

 16.     Upon information and belief, Defendant owns and operates the above-referenced phone

 numbers.

 17.     On or about March 1, 2018, at 8:41 a.m., Plaintiff received a call on his cell phone from

 (855) 892-3382. Plaintiff heard a pause before the representative began to speak, indicating the

 use of an automated telephone dialing system.

 18.     During this call, Plaintiff explained that he had no money, he wanted Fingerhut to stop

 calling him, and that he would call them when he could make a payment.

 19.     Despite revoking consent, Plaintiff continued to receive phone calls from Defendant.

 20.     Between March 1, 2018, and May 30, 2018, Plaintiff received approximately twenty-five

 (25) calls to his cell phone after requesting Defendant to stop calling him.

 21.     There were several occasions where the Defendant called Plaintiff multiple times in one

 day;

         a.       Plaintiff received two (2) calls from Defendant on or about May 23, 2018 through

         May 25, 2018;

         b.       Plaintiff received two (2) calls from Defendant on or about May 30, 2018.

 22.     Upon information and belief, Defendant also left prerecorded or artificial voice messages

 for Plaintiff.

 23.     Defendant’s calls were excessive and done with the purpose of attempting to harass

 Plaintiff into making a payment on the account.

 24.     Defendant was aware that Plaintiff was facing financial difficulties, that he could not make

 a payment, that he wanted the calls to stop, and that he would call Defendant when he could make

 a payment.

 25.     The conduct was not only willful, grossly negligent and intentional, but was done with

 intention of causing Plaintiff such distress, so as to induce him to pay the debt.

 26.     Plaintiff is a disabled veteran who was medically discharged in 2014.




                                                                 COMPLAINT AND DEMAND FOR JURY TRIAL
                                                 -3-
Case 2:18-cv-14511-KAM Document 1 Entered on FLSD Docket 12/17/2018 Page 4 of 8



 27.    Plaintiff has been out of work since 2014 and suffers from post-traumatic stress disorder

 (PTSD), traumatic brain injury (TBI), and Plaintiff has different heart problems.

 28.    Plaintiff is on approximately seven (7) different prescription medication.

 29.    Moreover, Plaintiff relies exclusive on the Veteran Affairs benefits to pay for his living

 necessities.

 30.    Defendant’s automated debt collection calls have caused Plaintiff to suffer from stress,

 anxiety, headaches, sleepless nights and frustration.

 31.    Due to Defendant’s actions, Plaintiff has suffered emotional distress and an invasion of his

 privacy.

                                             COUNT I

                            (Violations of the TCPA, 47 U.S.C. § 227)

 32.    Plaintiff incorporates by reference paragraphs one (1) through thirty-one (31) of this

 Complaint as though fully stated therein.

 33.    Defendant violated the TCPA. Defendant’s violations include, but are not limited to the

 following:

        a.      Within four years prior to the filing of this action, on multiple occasions, Defendant

        violated TCPA 47 U.S.C. § 227 (b)(1)(A)(iii) which states in pertinent part, “It shall be

        unlawful for any person within the United States . . . to make any call (other than a call

        made for emergency purposes or made with the prior express consent of the called party)

        using any automatic telephone dialing system or an artificial or prerecorded voice — to

        any telephone number assigned to a . . . cellular telephone service . . . or any service for

        which the called party is charged for the call.

        b.      Within four years prior to the filing of this action, on multiple occasions, Defendant

        willfully and/or knowingly contacted Plaintiff using an artificial prerecorded voice or an

        automatic telephone dialing system and as such, Defendant knowing and/or willfully

        violated the TCPA.




                                                                COMPLAINT AND DEMAND FOR JURY TRIAL
                                                -4-
Case 2:18-cv-14511-KAM Document 1 Entered on FLSD Docket 12/17/2018 Page 5 of 8



 34.    As a result of Defendant’s violations of 47 U.S.C. § 227, Plaintiff is entitled to an award

 of five hundred dollars ($500.00) in statutory damages, for each and every violation, pursuant to

 47 U.S.C. § 227(b)(3)(B). If the Court finds that Defendant knowingly and/or willfully violated

 the TCPA, Plaintiff is entitled to an award of up to one thousand five hundred dollars ($1,500.00),

 for each and every violation pursuant to 47 U.S.C. § 227(b)(3).

                                             COUNT II

                     (Violations of the FCCPA, FLA. STAT. § 559.72 et seq.)

 35.    Plaintiff incorporates by reference paragraphs one (1) through thirty-four (34) of this

 Complaint as though fully stated therein.

 36.    Defendant violated the FCCPA. Defendant’s violations include, but are not limited to, the

 following:

        a.      Defendant violated FLA. STAT. § 559.72 (7), which states in part that it is a violation

        to “[w]illfully communicate with the debtor … with such frequency as can reasonably be

        expected to harass the debtor … or willfully engage in other conduct which can reasonably

        be expected to abuse or harass the debtor ….”

        b.      Defendant called Plaintiff approximately (25) times after Plaintiff revoked consent

        to be called, explained that he was going through a financial difficulty, that he had no

        money, and that he would call Defendant when he could make a payment.

 37.    As a result of the foregoing violations of the FCCPA, Defendant is liable to Plaintiff for

 actual damages, statutory damages, punitive damages, and attorneys’ fees and costs.

                                             COUNT III

                                    (Intrusion Upon Seclusion)

 38.    Plaintiff incorporates by reference paragraphs one (1) through thirty-eight (38) of this

 Complaint as though fully stated therein.

 39.    Restatement of the Law, Second, Torts, § 652(b) defines intrusion upon seclusion as, “One

 who intentionally intrudes … upon the solitude or seclusion of another, or his private affairs or




                                                                COMPLAINT AND DEMAND FOR JURY TRIAL
                                                 -5-
Case 2:18-cv-14511-KAM Document 1 Entered on FLSD Docket 12/17/2018 Page 6 of 8



 concerns, is subject to liability to the other for invasion of privacy, if the intrusion would be highly

 offensive to a reasonable person.”

 40.     Defendant violated Plaintiff’s privacy. Defendant’s violations include, but are not limited

 to, the following:

         a.      Defendant intentionally intruded, physically or otherwise, upon Plaintiff’s solitude

         and seclusion by engaging in harassing phone calls in an attempt to collect on an alleged

         debt despite numerous requests for the calls to cease.

         b.      The number and frequency of the telephone calls to Plaintiff by Defendant after

         Plaintiff’s request for the calls to cease constitute an intrusion on Plaintiff's privacy and

         solitude.

         c.      Defendant’s conduct would be highly offensive to a reasonable person as Plaintiff

         received calls that often-interrupted Plaintiff’s daily schedule.

         d.      Defendant’s acts, as described above, were done intentionally with the purpose of

         coercing Plaintiff to pay the alleged debt.

 41.     As a result of Defendant’s violations of Plaintiff’s privacy, Defendant is liable to Plaintiff

 for actual damages. If the Court finds that the conduct is found to be egregious, Plaintiff may

 recover punitive damages.
                                              COUNT IV

                            (Fla. Statute § 768.72 – Punitive Damages)

 42.     Plaintiff incorporates herein by reference paragraphs one (1) through forty-one (41) of

 this Complaint as though fully set forth herein at length.

 43.     Fla. Statute § 768.72 allows a Plaintiff to recover punitive damages where “the trier of

 fact, based on clear and convincing evidence, finds that the defendant was personally guilty of

 intentional misconduct or gross negligence.”

 44.     Fla. Statute § 768.72(2)(a) defines “intentional misconduct” as defendant having “actual

 knowledge of the wrongfulness of the conduct and the high probability that injury or damage to



                                                                  COMPLAINT AND DEMAND FOR JURY TRIAL
                                                  -6-
Case 2:18-cv-14511-KAM Document 1 Entered on FLSD Docket 12/17/2018 Page 7 of 8



 the claimant would result and, despite that knowledge, intentionally pursued that course of

 conduct, resulting in injury or damage.”

 45.    Fla. Statute § 768.72(2)(b) defines “Gross negligence” as “reckless or wanting in care

 that it constituted a conscious disregard or indifference to the life, safety, or rights of persons

 exposed to such conduct.”

 46.    Plaintiff is informed and believes that the aforesaid conduct was malicious, wanton, and

 oppressive, as those terms are defined by Fla. Statute § 768.72(2), as Defendant’s conduct was

 done in complete conscious disregard of Plaintiff’s rights and safety.

 47.    Defendant was aware that Plaintiff was having financial difficulty, that he could not make

 a payment, that he requested to not be called on his cell phone, and that he would call Defendant

 when could make a payment, and yet, Defendant continued its bombardment of harassing phone

 calls to Plaintiff in violation of the TCPA, FCCPA, and Plaintiff’s privacy rights.

 48.    As a result of Defendant’s conduct and violations, Defendant is liable to Plaintiff for

 punitive damages.

                                       PRAYER OF RELIEF

        WHEREFORE, Plaintiff, Alexander Luna, respectfully requests judgment be entered

 against Defendant, Bluestem Brands, Inc., d/b/a Fingerhut, for the following:
 49.    Statutory damages of $500.00 for each and every negligent violation of the TCPA pursuant

 to 47 U.S.C. § (b)(3)(B);

 50.    Statutory damages of $1500.00 for each and every knowing and/or willful violation of the

 TCPA pursuant to 47 U.S.C. § (b)(3);

 51.    Statutory damages of $1,000.00 pursuant to the FCCPA, FLA. STAT. § 559.77;

 52.    Actual damages pursuant to FCCPA, FLA. STAT. § 559.77;

 53.    Punitive damages pursuant to FCCPA, FLA. STAT. § 559.77;




                                                                  COMPLAINT AND DEMAND FOR JURY TRIAL
                                                  -7-
Case 2:18-cv-14511-KAM Document 1 Entered on FLSD Docket 12/17/2018 Page 8 of 8



 54.    Costs and reasonable attorneys’ fees pursuant to the FCCPA, FLA. STAT. § 559.77;

 55.    Punitive damages to be determined at trial, for the sake of example and punishing

 Defendant for their intentional misconduct and/or gross negligence, pursuant to Fla. Statute §

 768.73;

 56.    Awarding Plaintiff any pre-judgment and post-judgment interest as may be allowed under

 the law; and

 57.       Any other relief that this Honorable Court deems appropriate.



 Respectfully submitted this 17th day of December 2018.


                                                              By: /s/Aaron M. Swift
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                                                               COMPLAINT AND DEMAND FOR JURY TRIAL
                                                -8-
